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 3   Irvine, California 92618
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 6
 7   Attorneys for Movant
 8                               UNITED STATES BANKRUPTCY COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10                                      LOS ANGELES DIVISION
11   In re                                          Bankruptcy Case No. 2:23-bk-10990-SK
12
                                                    Chapter 11
13   Leslie Klein,
14                                                  AMENDED PROOF OF SERVICE
15
                                                    HEARING DATE:
16                          Debtor.                 DATE: March 29, 2023
                                                    TIME: 8:30 a.m.
17                                                  CTRM: 1575
                                                    PLACE: 255 East Temple Street, Los Angeles
18                                                  CA 90012

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                   AMENDED PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                                  111 Pacifica, Suite 140, Irvine CA 92618

A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND MOTION FOR RELIEF
FROM THE AUTOMATIC STAY OR FOR ORDER CONFIRMING THAT THE AUTOMATIC STAY DOES NOT APPLY
UNDER 11 U.S.C. § 362(l) will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
March 3, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Michael Jay Berger – Debtor’s Counsel: Michael Jay Berger michael.berger@bankruptcypower.com,
yathida.nipha@bankruptcypower.com; michael.berger@ecf.inforuptcy.com
Noreen A. Madoyan – U.S. Trustee’s Counsel: Noreen.madoyan@usdoj.gov
Ron Maroko – U.S. Trustee: Ron Maroko ron.maroko@usdoj.gov
NOTICE: Greg P Campbell ch11ecf@aldridgepite.com, gc@ecf.inforuptcy.com; gcampbell@aldridgepite.com
NOTICE: Theron S Covey tcovey@raslg.com, sferry@raslg.com
NOTICE: Dane W Exnowski dane.exnowski@mccalla.com, bk.ca@mccalla.com, mccallaecf@ecf.courtdrive.com
TRUSTEE: Mark M Sharf (TR) mark@sharflaw.com, C188@ecfcbis.com; sharf1000@gmail.com
OFFICE OF U.S. TRUSTEE: United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
NOTICE: Paul P Young paul@cym.law, jaclyn@cym.law
                                                                Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) ______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) __________________, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 March 7, 2023                  John Ward                                                       /s/ John Ward
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
